Case 1:22-cv-00624-RGA Document 1-1 Filed 05/10/22 Page 1 of 8 PageID #: 10




                          EXHIBIT 1
           Case 1:22-cv-00624-RGA Document 1-1 Filed 05/10/22 Page 2 of 8 PageID #: 11




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 24810707
Notice of Service of Process                                                                            Date Processed: 04/22/2022

Primary Contact:           Heather McClow
                           Lowe's Companies, Inc.
                           1000 Lowes Blvd
                           Mooresville, NC 28117-8520

Entity:                                       Lowe's Home Centers, LLC
                                              Entity ID Number 2515365
Entity Served:                                Lowe's Home Centers, LLC
Title of Action:                              Mathew King vs. Lowe's Home Centers, Inc.
Matter Name/ID:                               Mathew King vs. Lowe's Home Centers, Inc. (12216552)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Discrimination
Court/Agency:                                 Superior Court, DE
Case/Reference No:                            K22C-04-001 JJC
Jurisdiction Served:                          Delaware
Date Served on CSC:                           04/21/2022
Answer or Appearance Due:                     20 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Jacobs & Crumplar, P.A.
                                              302-656-5445

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
 Case 1:22-cv-00624-RGA Document 1-1 Filed 05/10/22 Page 3 of 8 PageID #: 12
                                              EFiled: Apr 01 2022 03:42P
                                              Transacti®n I® 67447359
                                              Case fV®. FC22C-04-001 JJC
               IN THE SUPERIOR COURT OF THE STATE OF DELAWARE
 MATHEW KING,

        Plaintiff,                               :
                                                 : C.A. No. K22C-04-
 v.                                              :
                                                 : JURY TRIAL DEMANDED
 LOWE'S HOME CENTERS, INC., a                    :
 foreign corporation, and L_O_WE' S HOME         :
 CENTERS. LLC,a foreign limited
 liability company,                              :                                                 ~
                                                                                                   ~        .
     Defendants.
THE STATE   OF DELAWARE,                                                                       SUMMONS
TO THE SHERIFF OF NEW CASTLE COUNTY:                                                               ~r '
YOU ARE COMMANDED:
         To summon the above-named defendant so that, within 20 days of service hereclCupon
defendant, exclusive of the day of service, defendants shall serve upon plaintiff's attorney, whose
address is 750 Shipyard Drive, Suite 200, Wilmington, DE 19801, an answer to the complaint
(and, if an affidavit of demand has been filed, an affidavit of def.ense).
         To serve upon defendant a copy hereof and of the complaint (and of the affidavit of demand
if any has been filed by plaintiff).

Dated: (41,
                                                               Prothonotary Annette Ashley

                                                                                           .~
                                                                       44r
                                                               Per Deput5

TO THE ABOVE-NAMED DEFENDANT:
      In case of your failure, within 20 days after service of hereof upon y'        Wgiiisive of the day
of service, to serve on plaintiff's attorney named above, an answer to the complaint (and, if an
affidavit of demand has been filed, an affidavit of defense), judgment by default will be rendered
against you for the relief demanded in the complaint (or in the affidavit of demand, if any).

Dated:               ar                                         aaaa ~0
                                                               ProthonotarySf.~.nne
                                                                                Ur~
                                                                                   tte Ashley
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                                                               Per Dep ..'           N



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              Case 1:22-cv-00624-RGA Document 1-1 Filed 05/10/22 Page 4 of 8 PageID #: 13
                                              SUPERIOR COURT         EFiled: Apr 01 2022 03:42
                                  CIVIL CASE INFORMATION STATENiMMbn ID 67447359
 COUNTY:        N   JK     S                      CIVIL ACTION N r ti ~, :NoKIMI&04-001 JJC

 Caption:
                                                          Civil Case Code:       CMIS
 MATTHEW KING,
                                                          Civil Case Type:     Civil Miscellaneous
 Plaintiff,                                                              (SEE REVERSE SIDE FOR CODE AND TYPE)


II V.
                                                          MANDATORY NON-BINDING ARBITRATION (MNA) _NO_

 LOWE'S HOME CENTERS, INC., a foreign corporation, and    Name and Status of Party fiting document:
 LOWE'S HOME CENTERS, LLC, a foreign limited liability
 company,                                                 MATTHEW KING, PLAINTIFF

 Defendants.                                              Document Type:(E.G.; COMPLAINT,' ANSWER WITH COUNTERCLAIM)

                                                          COMPLAINT
                                                                       JURY DEMAND:      YES   XX_   NO


  ATTORNEY NAME(S):                                       IDENTIFY ANY RELATED CASES NOW PENDING IN THE SUPERIOR COURT OR
                                                          ANY RELATED CASES THAT HAVE BEEN CLOSED IN THIS COURT WITHIN THE
  PATRICK C. GALLAGHER                                    LAST TWO YEARS BY CAPTION AND CIVIL ACTION NUMBER INCLUDING
  ALEXIS N. STOMBAUGH                                     ]UDGE'S INITIALS:

  ATToRNEY ID(S):                                                        N/A

  #5170
  #6702
                                                          EXPLAIN THE RELATIONSHIP(S):
  FIRM NAME:

 7ACOBS & CRUMPLAR, P.A.

  ADDRESS:

  750 Shipyard Drive, Suite 200
  Wilmington, DE 19801
                                                          OTHER UNUSUAL ISSUES THAT AFFECT CASE MANAGEMENT:
 TELEPHONE NUMBER:

  (302) 656-5445

  FAX NUMBER:

  (302) 656-5875                                          (IF ADDIITONAL SPACE IS NEEDED, PLEASE ATTACH PAGE)

  E-MA1L ADDRESS:
  pat@jcdeiaw.com
  aiexis@jcdeiaw.00m

 THE PROTHONOTARY WILL NOT PROCESS THE COMPLAINT, ANSWER, OR FIRST RESPONSIVE PLEADING IN THIS MATTER FOR SERVICE
 UNTIL THE CASE INFORMATION STATEMENT (CIS) IS FILED. THE FAILURE TO FILE THE CIS AND HAVE THE PLEADING PROCESSED FOR
 SERVICE MAY RE:SULT IN THE DISMISSAL OF THE COMPLAINT OR MAY RESULT IN THE ANSWER OR FIRST RESPONSIVE PLEADING BEING
 STRICKEN.
.   ,
          Case 1:22-cv-00624-RGA Document 1-1 Filed 05/10/22 Page 5 of 8 PageID #: 14
                                                    EFiled: Apr 0'I 2022 03:
                                                    Transacti®n I® 6744735!
                                                    Case N®. K22C®04-001 J
                     IN THE SUPERIOR COURT OF THE STATE OF DELAWARE
         MATHEW KING,

              Plaintiff,                                     C.A. No. K22C-04

        ►~
                                                     :       JURY TRIAL DEMANDED
         LOWE' S HOME CENTERS, INC., a
         foreign corporation, and LOWE'S HOME
         CENTERS, LLC, a foreign limited
         liability company,

              Defendants.

                                                COMPLAINT

                                         The Parties and Background

               1.      Plaintiff Mathew King ("King") is a resident of Sussex County, Delaware.

               2.      Lowe's Home Centers, Inc. ("Lowe's Inc.), is a North Carolina corporation, whose

        registered agent is the Corporation Service Company, located at 251 Little Falls Drive,

        Wilmington, Delaware 19808. Plaintiff demands the Defendant deny the allegations contained in

        this paragraph, by Affidavit in accordance with the provisions of 10 Del. C. §3914 and §3915.

               3.      Lowe's Home Centers, LLC ("Lowe's LLC"), is a North Carolina limited liability

        company, whose registered agent is the Corporation Service Company, located at 251 Little Falls

        Drive, Wihnington, Delaware 19808. Plaintiff demands the Defendant deny the allegations

        contained in this paragraph, by Affidavit in accordance with the provisions of 10 Del. C. §3914

        and §3915.

               4.      Lowe's Inc., and Lowe's, LLC (collectively "Defendants"), operates the Lowes

        Home Improvement Store at 20364 Plantations Road, Lewes, Delaware 19958.                  Lowe's

        Defendants have more than 15 employees. Upon information and belief, Defendants have more

        than 15 employees.

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 Case 1:22-cv-00624-RGA Document 1-1 Filed 05/10/22 Page 6 of 8 PageID #: 15




                          King's Status as a Medical Marijuana Cardholder

       5.      King suffers from several medical problems. He suffers from post-traumatic stress

disorder, stomach issues, adverse reactions to medications, and general pain. King applied for and

received a medical marijuana card through the State of Delaware in or around November of 2019.

       6.      At all times relevant, King had a lawfully issued medical marijuana card that did

not expire until November 15, 2021.

                                     King is Interviewed by Lowe's

       7.      In or about July of 2020, King applied for a position at Lowe's and was interviewed

on the spot. The manager told him he had 48 hours to complete a drug screen. The position King

applied for was for a full time or part time and paid either $16.00 an hour or $17.00 an hour.

       8.      King disclosed to the manager that he had a medical marijuana card. The manager

told King they could not hire him even with the card.

       9.      When King left, he received a phone call from the manager asking whether the

medical marijuana card he possessed was a federal card. King told him it was a Delaware card

and the manager once again told King he could not hire him.

       10.     As a result of Defendants rescinding its job offer, King lost income, suffered

financial problems, suffered emotional distress, and experienced disruption to life.

    COiJNT I— LOWE'S VIOLATION OF 16 DELAWARE CODE SECTION 4905A

       11.     Plaintiff reincorporates all other allegations in the Complaint as if they are stated in

this Count.

       12.     The State of Delaware enacted the Delaware Medical Marijuana Act ("MMA")

when it was passed by the General Assembly and signed into law by the Governor in 2011. The




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   Case 1:22-cv-00624-RGA Document 1-1 Filed 05/10/22 Page 7 of 8 PageID #: 16




 MMA is codified in Chapter 49A of Title 16 of the Delaware Code. The MMA was in effect at

 all relevant times for purposes of this litigation.

         13.     King is a"cardholder" as that term is used in the MMA.

         14.     Section 4905A of Title 16 of the Delaware Code prohibits, among other things, an

 employer from discriminating against someone by failing to hire him or terminating someone

 based upon his status as a"cardholder" or because a cardholder fails a drug test for marijuana

 components or metabolites.

         15.     Defendants refused to hire King because of his status as a cardholder.

         16.     As a result of the discrimination based upon King's status as a cardholder, he

sustained the damages identified in paragraph 10.

         17.     The Delaware Department of Labor's Office of Anti-Discrimination, in another

case, has taken the position that it does not have administrative jurisdiction over claims asserted

under 16 Delaware Code Section 4905A. Thus, any effort to exhaust administrative remedies

would be futile.

        WHEREFORE, Plaintiff Mathew King respectfully requests this Court:

        A.       Enter judgment in his favor and joint and severally against defendants Lowe's

Home Centers, Inc., and Lowe's Home Centers, LLC;

        B.       Award him special damages, including back pay and front pay, as he can prove as

well as compensatory damages;

        C.       Award him pre- and post judgment interest;

        D.      Award him costs of the action; and

        E.       Grant such other relief as the Court deems proper.




                                                       G
Case 1:22-cv-00624-RGA Document 1-1 Filed 05/10/22 Page 8 of 8 PageID #: 17




                                        JACOBS & CRUMPLAR, P.A.


                                         /s/Patrick C. Gallagher
                                        Patrick C. Gallagher, Esquire (#5170)
                                        Alexis N. Stombaugh, Esquire (#6702)
                                        28412 Dupont Blvd., Suite 104
                                        Millsboro, DE 19966
                                        (t) 302.656.5445
                                        (f) 302.656.5875
Date:   April 1, 2022                   Attorneysfor Plaintiff




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